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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

  BRIAN BURBANK,                                  )
                                                  )
                 Plaintiff,                       )
                                                  )
         v.                                       ) CAUSE NO: 3:18-cv-00800-RLM-MGG
                                                  )
  PLANET FORWARD, LLC d/b/a                       )
  PLANET FORWARD ENERGY                           )
  SOLUTIONS, LLC,                                 )
                                                  )
                 Defendant.                       )

                  JOINT MOTION FOR APPROVAL OF
         SETTLEMENT AGREEMENT AND ISSUANCE OF FINAL ORDER

         Plaintiff, Brian Burbank (“Plaintiff”), by counsel, and Defendant, Planet Forward,

  LLC d/b/a Planet Forward Energy Solutions, LLC (“Defendant”), by counsel, jointly move

  this Court to approve the settlement agreement reached between them and to dismiss this

  case, with prejudice. In support of this motion, the parties state:

         1.      Plaintiff filed this lawsuit against Defendant on September 28, 2018,

  alleging violations of the Fair Labor Standards Act, 29 U.S.C.§ 201, et. seq., (“FLSA”).

         2.      The parties have been engaged in ongoing settlement negotiations before

  and after Plaintiff filed the lawsuit. Although Plaintiff had served the Complaint on

  Defendant, the Parties agreed that, should their settlement negotiations prove unsuccessful,

  they would jointly move the Court to allow Defendant an appropriate extension of time to

  file its Answer or other responsive pleading.

         3.      There exists between the parties a bona fide dispute under the FLSA. The

  parties recognize the outcome in the lawsuit is uncertain and achieving a final result

  through litigation requires additional risk, discovery, time, and expense.

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         4.      Throughout the ongoing negotiations, Defendant has denied, and continues

  to deny, the allegations in the lawsuit or that it is liable for alleged violations of the FLSA

  or that it owes any damages to Plaintiff.

         5.      Defendant, without admitting or conceding any liability or damages, and to

  avoid the burden, expense, and uncertainty of continuing the lawsuit, has agreed to settle

  the lawsuit.

         6.      Plaintiff, with the assistance of his undersigned counsel, has investigated

  and evaluated the facts and law relating to the claims asserted in the lawsuit. After

  balancing the benefits of settlement with the costs, risks, uncertainty, and delay of

  continued litigation, Plaintiff believes that the settlement reached between the parties is in

  his best interest and represents a fair, reasonable, and adequate resolution of the lawsuit.

         7.      The settlement agreement has been executed by all parties.

         8.      The parties’ agreement settles all claims and matters pleaded in Plaintiff’s

  complaint fully and forever.

         9.      The parties have agreed to keep the terms of the settlement agreement

  confidential, with limited exceptions set forth in the agreement.               Defendant is

  contemporaneously filing a motion for leave to file the settlement agreement under seal

  and will separately provide the Court with a copy of the settlement agreement pursuant to

  the Court’s CM/ECF Manual guidelines for submitting confidential material. However, to

  the extent the Court does not approve the motion to seal because of confidentiality, the

  parties agree that the confidentiality provision in the settlement agreement can be stricken

  therefrom.




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         WHEREFORE, the parties respectfully move the Court to approve the settlement

  agreement as a fair and reasonable resolution of a bona fide dispute under the FLSA and

  to enter a final order dismissing all claims against Defendant with prejudice.

  ATTORNEYS FOR PLAINTIFF                      ATTORNEYS FOR DEFENDANT


  /s/ Bradley L. Wilson                        /s/ Andrew M. Spangler, Jr. (w/ permission)
  Bradley L. Wilson                            Andrew M. Spangler, Jr.
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